              Case 2:15-cr-00190-KJM Document 391 Filed 06/15/18 Page 1 of 2


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4
     Attorney for MICHAEL ROMANO
5

6                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,                 ) No. 15-190 GEB
8
                     Plaintiff,                    )
9                                                  ) STIPULATION AND [PROPOSED]
            v.                                     ) TO CONTINUE Mr. ROMANO’s
10                                                 ) SENTENCING DATE FROM JUNE 22, 2018
                                                   ) TO JUNE 29, 2018
11
     MICHAEL ROMANO,                               )
12
                     Defendant.                    ) Judge: Hon. Garland E. Burrell, Jr.
     ================================)
13

14          Defendant Michael Romano is requesting a continuance of her sentencing hearing, which is
15   presently set for June 22, 2018. Mr. Romano is requesting a new sentencing date of June 29, 2018.
16
     The continuance is requested because Mr. Long will be out-of-state on June 22, 2018. AUSA Audrey
17
     Hemesath, on behalf of the United States Attorney’s Office, and USPO Julie Besabe, on behalf of the
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19
     United States Probation Office, have no objection to the requested continuance. The pre-sentence

20   report and all objections have already been completed and filed.

21

22
     Dated: June 13, 2018                                  Respectfully submitted,

23                                                         /s/ Michael D. Long
                                                           MICHAEL D. LONG
24
                                                           Attorney for Michael Romano
25

26   ///
27
     ///
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     ///


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              Case 2:15-cr-00190-KJM Document 391 Filed 06/15/18 Page 2 of 2


1    Dated: June 13, 2018                              McGREGOR SCOTT
                                                       United States Attorney
2

3                                                      /s/ Audrey Hemesath
                                                       AUDREY HEMESATH
4                                                      Assistant U.S. Attorney
5
                                   ORDER
6

7
            The Court hereby orders that Mr. Romano’s sentencing hearing is continued from June
8
     22, 2018, to 9:00 a.m. on June 29, 2018.
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10          Dated: June 14, 2018

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